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                                                                         MEMO ENDORSED

                                          THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX              LAW DEPARTMENT                                         SHARON SPRAYREGEN
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                                               NEW YORK, NY 10007                                 ssprayre@law.nyc.gov



                                                                    October 14, 2022
       By ECF
       Hon. Katherine Polk Failla
       United States District Court
       Southern District of New York
       40 Foley Square
       New York, NY 10007

               Re: Ronisha Ferguson v. City of New York, et al., 22-cv-01000 (KPF)(VF)

       Dear Judge Failla:

               I am the Assistant Corporation Counsel in the Office of the Corporation Counsel,
       assigned to represent Defendants in the above-referenced action. I write jointly with Plaintiffs’
       counsel to respectfully request that the parties proceed with discovery pursuant to a joint Case
       Management Plan and Scheduling Order rather than the Section 1983 Plan, or in the alternative
       that the case be exempt from the Plan pursuant to Local Civil Rule 83.10(d)(1)(ii). Your Honor
       had directed the parties to comply with Local Civil Rule 83.10(d)-(e) in the October 12, 2022
       Order (ECF No. 39). As discussed below, we believe the circumstances of this child removal
       case are distinct from the type of police cases that fall with the purview of this Rule.

              In this Section 1983 action, Plaintiff Ferguson alleges she was subject to an unreasonable
       search and her children were wrongfully removed by employees of the Administration for
       Children’s Services (“ACS”). While several NYPD officers were present on the scene, the
       emergency removal of the children was authorized by ACS, and the officers had no further
       involvement in the matter. Indeed, Plaintiffs do not allege “use of excessive force, false arrest or
       malicious prosecution by employees of the NYPD…” as is contemplated by the Rule.
       Accordingly, the bulk of discovery will be directed to the ACS defendants, not the NYPD.
       Moreover, as discussed in my October 11, 2022 letter (ECF No. 38), at this moment, my Office
       does not represent most of the NYPD defendants, as these defendants were recently added.

              Accordingly the parties jointly request to proceed with discovery by agreeing on a joint
       Case Management Plan and Scheduling Order, rather than proceeding with discovery pursuant to
       the Local Civil Rule 83.10(d)-(e).

               Thank you for consideration of this request.
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                                                Respectfully submitted,

                                                s/
                                                Sharon Sprayregen
cc.   by ECF
      Plaintiffs’ counsel




Application GRANTED. The parties are hereby ORDERED to appear
for an initial pretrial conference in this matter on November 16,
2022, at 10:30 a.m. The conference will be held telephonically.
At the scheduled time, the parties are to call (888) 363-4749 and
enter access code 5123533.

The parties shall submit a joint letter and Proposed Civil Case
Management Plan and Scheduling Order on or before the Thursday of
the week prior to the initial pretrial conference in accordance
with the Court's Individual Rules of Practice in Civil Cases.

The Clerk of Court is directed to terminate the motion at docket
entry #40.




Dated:        October 17, 2022             SO ORDERED.
              New York, New York




                                           HON. KATHERINE POLK FAILLA
                                           UNITED STATES DISTRICT JUDGE




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